Case: 1:17-md-02804-DAP Doc #: 4383-1 Filed: 04/25/22 1 of 6. PageID #: 577280




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                   Case: 1:17-md-02804-DAP Doc #: 4383-1 Filed: 04/25/22 2 of 6. PageID #: 577281


       ^ƵďĚŝǀŝƐŝŽŶEĂŵĞ           ^ƚĂƚĞ                  ^ŝŐŶĞĚtŝƚŚWĞƌŵŝƐƐŝŽŶ                     EĂŵĞŽĨƚ>ĞĂƐƚKŶĞ>Ăǁ&ŝƌŵŽĨZĞĐŽƌĚ        :ƵƌŝƐĚŝĐƚŝŽŶ      ŽĐŬĞƚEƵŵďĞƌ
^ƚƵĂƌƚŝƚǇ                     &>        ͬƐͬdŚĞ>ĂǁKĨĨŝĐĞƐŽĨdƌĂǀŝƐZ͘tĂůŬĞƌ͕W͘͘        dŚĞ>ĂǁKĨĨŝĐĞƐŽĨdƌĂǀŝƐZ͘tĂůŬĞƌ͕W͘͘          EK,            ϭ͗ϮϬͲŽƉͲϰϱϭϮϰͲW
ŝƚǇŽĨDŝƐŚĂǁĂŬĂ               /E        ͬƐͬŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                 ŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                   EK,            ϭ͗ϮϭͲŽƉͲϰϱϬϴϬͲW
ŝƚǇŽĨ,ŝůůǀŝĞǁ                <z        ͬƐͬŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                 ŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                   EK,            ϭ͗ϮϭͲŽƉͲϰϱϬϴϬͲW
ŝƚǇŽĨDƚ͘tĂƐŚŝŶŐƚŽŶ          <z        ͬƐͬŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                 ŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                   EK,            ϭ͗ϮϭͲŽƉͲϰϱϬϴϬͲW
ŝƚǇŽĨ^ŚĞƉŚĞƌĚƐǀŝůůĞ          <z        ͬƐͬŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                 ŽĨĨŵĂŶ>Ăǁ&ŝƌŵ                                   EK,            ϭ͗ϮϭͲŽƉͲϰϱϬϴϬͲW
/ďĞƌŝĂWĂƌŝƐŚ^ĐŚŽŽůŽĂƌĚ      >        ͬƐͬ/ƌƉŝŶŽ͕ǀŝŶΘ,ĂǁŬŝŶƐ                           /ƌƉŝŶŽ͕ǀŝŶΘ,ĂǁŬŝŶƐ                             EK,            ϭ͗ϭϴͲŽƉͲϰϲϮϰϱͲW
/ďĞƌǀŝůůĞWĂƌŝƐŚ                >        ͬƐͬWĞŶĚůĞǇ͕ĂƵĚŝŶΘŽĨĨŝŶ͕>>W                    WĞŶĚůĞǇ͕ĂƵĚŝŶΘŽĨĨŝŶ͕>>W                      EK,            ϭ͗ϭϵͲŽƉͲϰϱϭϰϬͲW
^ƚ͘:ĂŵĞƐWĂƌŝƐŚ^ĐŚŽŽůŽĂƌĚ   >        ͬƐͬ>ĞŐĞƌΘ^ŚĂǁ                                     >ĞŐĞƌΘ^ŚĂǁ                                       EK,            ϭ͗ϮϭͲŽƉͲϰϱϬϯϰͲW
ĐƵƐŚŶĞƚdŽǁŶ                             ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϲϳϲͲW
ŐĂǁĂŵdŽǁŶŝƚǇ                          ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϳϵϮͲW
ŵĞƐďƵƌǇdŽǁŶŝƚǇ                        ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϲϳϴͲW
ƋƵŝŶŶĂŚdŽǁŶ                             ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϲϬϵϭͲW
ƚŚŽůdŽǁŶ                                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϬϱϴͲW
ƵďƵƌŶdŽǁŶ                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϲϴϴͲW
ǇĞƌdŽǁŶ                                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϱϳϬͲW
ĂƌŶƐƚĂďůĞdŽǁŶŝƚǇ                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϴϲϮͲW
ĞůĐŚĞƌƚŽǁŶdŽǁŶ                          ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϵϬϱͲW
ĞǀĞƌůǇŝƚǇ                              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϮϭϵͲW
ŝůůĞƌŝĐĂdŽǁŶ                            ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϱϲϬͲW
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                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϱϱϲͲW
ƌŝĚŐĞǁĂƚĞƌdŽǁŶ                          ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϳϱϰͲW
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                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϲϬϴϵͲW
ƌŽŽŬůŝŶĞdŽǁŶ                            ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϬϲϮͲW
ĂƌǀĞƌdŽǁŶ                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϲϵϭͲW
ŚĂƌůƚŽŶdŽǁŶ                             ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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ŚĞůŵƐĨŽƌĚdŽǁŶ                           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϵϱϮͲW
ŚĞůƐĞĂŝƚǇ                              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϲϵϯͲW
ůĂƌŬƐďƵƌŐdŽǁŶ                           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϴϴϮͲW
ůŝŶƚŽŶdŽǁŶ                              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϲϬϳϮͲW
ĂŶǀĞƌƐdŽǁŶ                              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϳϲϬͲW
ĞĚŚĂŵdŽǁŶ                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϬϯϵͲW
ĞŶŶŝƐdŽǁŶ                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϭϮϰͲW
ŽƵŐůĂƐdŽǁŶ                              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϳϬϲͲW
ƵĚůĞǇdŽǁŶ                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϳϬϳͲW
ĂƐƚƌŝĚŐĞǁĂƚĞƌdŽǁŶ                     ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϳϮϭͲW
ĂƐƚŚĂŵdŽǁŶ                              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϴϲϰͲW
ĂƐƚŚĂŵƉƚŽŶdŽǁŶŝƚǇ                     ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϴͲŽƉͲϰϱϯϯϲͲW
ĂƐƚŽŶdŽǁŶ                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                                D        KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                                     ϭ͗ϭϵͲŽƉͲϰϱϵϮϬͲW
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ǀĞƌĞƚƚŝƚǇ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϱϵϲͲW
&ĂŝƌŚĂǀĞŶdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϲϬͲW
&ĂůŵŽƵƚŚdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϬϵϱͲW
&ŝƚĐŚďƵƌŐŝƚǇ          D   ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬ͕W>>                            EĂƉŽůŝ^ŚŬŽůŶŝŬ͕W>>                              EK,   ϭ͗ϭϵͲŽƉͲϰϱϬϯϬͲW
&ƌĞĞƚŽǁŶdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϬϱͲW
'ĞŽƌŐĞƚŽǁŶdŽǁŶ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϳϵͲW
'ƌĂĨƚŽŶdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϱϯͲW
'ƌĞĞŶĨŝĞůĚdŽǁŶŝƚǇ         ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϬϭϳͲW
,ĂŶƐŽŶdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϬϰͲW
,ŽůůŝƐƚŽŶdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϳϰͲW
,ŽůǇŽŬĞŝƚǇ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϲϵϰͲW
,ŽƉĞĚĂůĞdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϬϴͲW
,ƵůůdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϲϭϳϮͲW
<ŝŶŐƐƚŽŶdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϬϵϬͲW
>ĂŬĞǀŝůůĞdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϰϯͲW
>ĞŝĐĞƐƚĞƌdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϬϵͲW
>ĞŽŵŝŶƐƚĞƌŝƚǇ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϭϬͲW
>ĞǀĞƌĞƚƚdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϯϲͲW
>ŽŶŐŵĞĂĚŽǁdŽǁŶ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϬϵϳͲW
>ŽǁĞůůŝƚǇ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϱϭϰͲW
>ƵĚůŽǁdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϵϬϲͲW
>ƵŶĞŶďƵƌŐdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϭϱϲͲW
>ǇŶŶŝƚǇ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϴϵͲW
DĂůĚĞŶŝƚǇ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϰϴϳͲW
DĂƌďůĞŚĞĂĚdŽǁŶ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϵϭͲW
DĂƌƐŚĨŝĞůĚdŽǁŶ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϱϮͲW
DĂƐŚƉĞĞdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϱϱͲW
DĂƚƚĂƉŽŝƐĞƚƚdŽǁŶ            ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϵϬͲW
DĞůƌŽƐĞŝƚǇ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϵϱϭͲW
DĞƚŚƵĞŶdŽǁŶŝƚǇ            ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϭϬϲͲW
DŝĚĚůĞďŽƌŽƵŐŚdŽǁŶ           ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϮϬϬͲW
DŝůĨŽƌĚdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϴϯͲW
DŝůůďƵƌǇdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϭϮϯͲW
DŝůůŝƐdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϮϬͲŽƉͲϰϱϮϳϱͲW
EĂŶƚƵĐŬĞƚdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                        D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϬϯͲW
                   Case: 1:17-md-02804-DAP Doc #: 4383-1 Filed: 04/25/22 4 of 6. PageID #: 577283


EĞǁĞĚĨŽƌĚŝƚǇ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϱϲϵͲW
EĞǁďƵƌǇƉŽƌƚŝƚǇ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϯϳͲW
EŽƌƚŚĚĂŵƐŝƚǇ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϬϮͲW
EŽƌƚŚŶĚŽǀĞƌdŽǁŶ             ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϭϱϵͲW
EŽƌƚŚƚƚůĞďŽƌŽƵŐŚdŽǁŶ        ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϰϰͲW
EŽƌƚŚZĞĂĚŝŶŐdŽǁŶ             ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϱϲͲW
EŽƌƚŚĂŵƉƚŽŶŝƚǇ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϯϯϳͲW
EŽƌƚŚďƌŝĚŐĞdŽǁŶ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϭϭͲW
EŽƌƚŽŶdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϴϳͲW
EŽƌǁĞůůdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϭϱͲW
EŽƌǁŽŽĚdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϲϭͲW
KƌĂŶŐĞdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϳϬͲW
KǆĨŽƌĚdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϱϲϴͲW
WĂůŵĞƌdŽǁŶŝƚǇ               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϭϮͲW
WĞĂďŽĚǇŝƚǇ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϲϬͲW
WĞŵďƌŽŬĞdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϮϯͲW
WŝƚƚƐĨŝĞůĚŝƚǇ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϯϯϱͲW
WůĂŝŶǀŝůůĞdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϬϴͲW
WůǇŵŽƵƚŚdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϲϳϱͲW
WƌŽǀŝŶĐĞƚŽǁŶdŽǁŶ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϭϮϱͲW
ZĞŚŽďŽƚŚdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϱϵͲW
ZĞǀĞƌĞŝƚǇ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϭϱϱͲW
ZŽĐŬůĂŶĚdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϮϰͲW
^ĂůŝƐďƵƌǇdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϱϵϱͲW
^ĂŶĚǁŝĐŚdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϵϭͲW
^ĐŝƚƵĂƚĞdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϲϯͲW
^ĞĞŬŽŶŬdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϴϭͲW
^ŚĞĨĨŝĞůĚdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϬϬϭͲW
^ŚŝƌůĞǇdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϴϬͲW
^ŽŵĞƌƐĞƚdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϲϵͲW
^ŽƵƚŚ,ĂĚůĞǇdŽǁŶ              ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϬϬϬͲW
^ŽƵƚŚďƌŝĚŐĞdŽǁŶŝƚǇ          ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϲϴϲͲW
^ƉĞŶĐĞƌdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϬϵͲW
^ƚŽŶĞŚĂŵdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϭϲϰͲW
^ƚŽƵŐŚƚŽŶdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϮϯͲW
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^ƚƵƌďƌŝĚŐĞdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϵϵϬͲW
^ƵĚďƵƌǇdŽǁŶ                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϳϳͲW
^ƵƚƚŽŶdŽǁŶ                       ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϭϬͲW
^ǁĂŵƉƐĐŽƚƚdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϵϭϭͲW
dĞŵƉůĞƚŽŶdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϴϰͲW
dĞǁŬƐďƵƌǇdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϬϳϳͲW
dƌƵƌŽdŽǁŶ                        ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϭϲͲW
dǇŶŐƐďŽƌŽƵŐŚdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϳϳϬͲW
hƉƚŽŶdŽǁŶ                        ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tĂůƉŽůĞdŽǁŶ                      ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϬϵϯͲW
tĂƌĞdŽǁŶ                         ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϵϬϳͲW
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tĞůůĨůĞĞƚdŽǁŶ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϵͲŽƉͲϰϱϱϱϲͲW
tĞƐƚŽǇůƐƚŽŶdŽǁŶ                ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                             D   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϱϴϱϴͲW
tĞƐƚƌŝĚŐĞǁĂƚĞƌdŽǁŶ             ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tĞƐƚ^ƉƌŝŶŐĨŝĞůĚdŽǁŶŝƚǇ        ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tĞƐƚdŝƐďƵƌǇdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tĞƐƚďŽƌŽƵŐŚdŽǁŶ                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tŝůůŝĂŵƐďƵƌŐdŽǁŶ                 ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tŝůŵŝŶŐƚŽŶdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tŝŶĐŚĞŶĚŽŶdŽǁŶ                   ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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tŽďƵƌŶŝƚǇ                       ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
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ŝďŽůĂŽƵŶƚǇ
                             ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϯϮϭͲW
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ƵƌƌǇŽƵŶƚǇ
                             ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϯϰϳͲW
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
ŽŶĂŶĂŽƵŶƚǇ
                             ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϴͲŽƉͲϰϲϮϬϲͲW
'ƌĂŶƚŽƵŶƚǇ                 ED   ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬW>>                             EĂƉŽůŝ^ŚŬŽůŶŝŬW>>                               EK,   ϭ͗ϭϵͲŽƉͲϰϱϭϬϴ
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
,ŝĚĂůŐŽŽƵŶƚǇ
                             ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϲϬϲϵͲW
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
>ĞĂŽƵŶƚǇ
                             ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϮϲϲͲW
                                  ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
>ŝŶĐŽůŶŽƵŶƚǇ
                             ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϱϭϯͲW
                    Case: 1:17-md-02804-DAP Doc #: 4383-1 Filed: 04/25/22 6 of 6. PageID #: 577285


                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
DĐ<ŝŶůĞǇŽƵŶƚǇ
                          ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϬϯϯͲW
DŽƌĂŽƵŶƚǇ               ED   ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬW>>                             EĂƉŽůŝ^ŚŬŽůŶŝŬW>>                               EK,   ϭ͗ϭϳͲŽƉͲϰϱϬϴϬͲW
                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
KƚĞƌŽŽƵŶƚǇ
                          ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϮϭϲͲW
ZŝŽƌƌŝďĂŽƵŶƚǇ         ED   ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬW>>                             EĂƉŽůŝ^ŚŬŽůŶŝŬW>>                               EK,   ϭ͗ϭϴͲŽƉͲϰϱϬϱϰͲW
ZŽŽƐĞǀĞůƚŽƵŶƚǇ          ED   ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬW>>                             EĂƉŽůŝ^ŚŬŽůŶŝŬW>>                               EK,   ϭ͗ϭϴͲŽƉͲϰϲϯϰϯͲW
^ĂŶĚŽǀĂůŽƵŶƚǇ           ED   ͬƐͬEĂƉŽůŝ^ŚŬŽůŶŝŬW>>                             EĂƉŽůŝ^ŚŬŽůŶŝŬW>>                               EK,   ϭ͗ϭϵͲŽƉͲϰϱϰϮϭͲW
                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
^ŝĞƌƌĂŽƵŶƚǇ
                          ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϯϮϮͲW
                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
^ŽĐŽƌƌŽŽƵŶƚǇ
                          ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϯϮϯͲW
                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
dĂŽƐŽƵŶƚǇ
                          ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϬϱϭͲW
                               ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕
sĂůĞŶĐŝĂŽƵŶƚǇ
                          ED   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                     EK,   ϭ͗ϭϵͲŽƉͲϰϱϯϮϰͲW
ůĂƌŬŽƵŶƚǇ              Es   ͬƐͬŐůĞƚĚĂŵƐ                                      ŐůĞƚĚĂŵƐ                                        EK,   ϭ͗ϭϵͲŽƉͲϰϲϭϲϴͲW
EǇĞŽƵŶƚǇ                    ͬƐͬ>ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕ >ĞǀŝŶ͕WĂƉĂŶƚŽŶŝŽ͕ZĂĨĨĞƌƚǇ͕WƌŽĐƚŽƌ͕ƵĐŚĂŶĂŶ͕   EK,
                          Es   KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                       KΖƌŝĞŶ͕ĂƌƌĂŶĚDŽƵŐĞǇ͕W͘͘                            ϭ͗ϭϴͲŽƉͲϰϲϮϯϴͲW
hŶŝŽŶdŽǁŶƐŚŝƉ            W   ͬƐͬ>ĞǀŝŶ^ĞĚƌĂŶĞƌŵĂŶ>>W                          >ĞǀŝŶ^ĞĚƌĂŶĞƌŵĂŶ>>W                            EK,   ϭ͗ϭϴͲŽƉͲϰϱϵϯϵͲW
ƌůŝŶŐƚŽŶŽƵŶƚǇ          s   ͬƐͬ^ĂŶĨŽƌĚ,ĞŝƐůĞƌ^ŚĂƌƉ͕>>W                        ^ĂŶĨŽƌĚ,ĞŝƐůĞƌ^ŚĂƌƉ͕>>W                         EK,   ϭ͗ϮϭͲŽƉͲϰϱϬϳϴͲW
ƵĐŚĂŶĂŶŽƵŶƚǇ           s   ͬƐͬ^ƚƌĞĞƚ>Ăǁ&ŝƌŵ                                  ^ƚƌĞĞƚ>Ăǁ&ŝƌŵ                                    EK,   ϭ͗ϭϵͲŽƉͲϰϱϮϱϯͲW
